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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
WILLIAM C. TOTH JR., et al.,              :    Civil No. 1:22-CV-00208
                                          :
             Plaintiffs,                  :    Three Judge Panel Convened
                                          :    Pursuant to 28 U.S.C. § 2284(a)
             v.                           :
                                          :
LEIGH M. CHAPMAN, et al.,                 :
                                          :
             Defendants.                  :
                                          :
             v.                           :
                                          :
CAROL ANN CARTER, et al.,                 :
                                          :
             Intervenor-Defendants.       :

                                      ORDER

BEFORE: Kent A. Jordan, Circuit Judge, United States Court of Appeals for the
Third Circuit; Patty Shwartz, Circuit Judge, United States Court of Appeals for the
Third Circuit; Jennifer P. Wilson, District Judge, United States District Court for
the Middle District of Pennsylvania

      AND NOW, on this 7th day of March, 2022, IT IS ORDERED THAT the

court adjourns the hearing on Plaintiffs’ motion for preliminary injunction

scheduled for Friday, March 11, 2022, at 1:00 p.m. pending review of the briefs by

the three-judge district court. IT IS FURTHER ORDERED THAT the briefing

schedule for Plaintiffs’ motion for preliminary injunction, Doc. 43, is confirmed.

                                On behalf of the three-judge district court:

                                s/Jennifer P. Wilson
                                JENNIFER P. WILSON
                                United States District Court Judge
                                Middle District of Pennsylvania
